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 8                                     UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    RYAN INDIANA CURRY,                                 No. 2:23-cv-00791-EFB (PC)
12                        Plaintiff,
13            v.                                          ORDER
14    ROLLIN, et al.,
15                        Defendants.
16

17          Plaintiff is a state prisoner proceeding without counsel and in forma pauperis in an action

18   brought under 42 U.S.C. § 1983. This proceeding was referred to this court by Local Rule 302

19   pursuant to 28 U.S.C. § 636(b)(1).

20          Pursuant to 28 U.S.C. § 1915(b)(1), plaintiff must pay the $350 filing fee required by 28

21   U.S.C. § 1914(a). Plaintiff is assessed an initial partial filing fee of 20 percent of the greater of

22   (a) the average monthly deposits to plaintiff’s trust account; or (b) the average monthly balance in

23   plaintiff’s account for the six-month period immediately preceding the filing of the complaint. 28

24   U.S.C. § 1915(b)(1). Thereafter, plaintiff must make monthly payments of 20 percent of the

25   preceding month’s income credited to his trust account. 28 U.S.C. § 1915(b)(2).

26          The agency having custody of plaintiff is required to forward to the Clerk of the Court the

27   initial partial filing fee, if funds exist, as well as payments from plaintiff’s account each time the

28   amount in the account exceeds $10, until the filing fee is paid. Id.
                                                         1
     Case 2:23-cv-00791-TLN-EFB Document 10 Filed 06/09/23 Page 2 of 2


 1          The Clerk of the Court shall serve a copy of this order and a copy of plaintiff’s in forma

 2   pauperis application upon the Director of the California Department of Corrections and

 3   Rehabilitation and deliver a copy of this order to the Clerk’s financial division.

 4          So ordered.

 5   Dated: June 9, 2023.

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